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 Attorneys for Official Committee of Unsecured
 Creditors of Hollister Construction Services, LLC

                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY


 In re:                                        Chapter 11

 HOLLISTER CONSTRUCTION                        Case No. 19-27439 (MBK)
 SERVICES, LLC,
                                               Hearing Date: November 7, 2019
                               Debtor.                        at 11:30 a.m.



          NOTICE OF CROSS-MOTION OF THE OFFICIAL COMMITTEE OF
          UNSECURED CREDITORS TO CONVERT DEBTOR’S CASE TO
          CHAPTER 7

          PLEASE TAKE NOTICE that on the 7th day of November, 2019, at 11:30 a.m., or as

 soon thereafter as counsel may be heard, the Official Committee of Unsecured Creditors

 (“Committee”) of Hollister Construction Services, LLC (“Debtor”), by and through their

 attorneys, McManimon Scotland & Baumann, LLC, shall cross-move (the “Cross-Motion”)

 before the Honorable Michael B. Kaplan, United States Bankruptcy Court, Clarkson S. Fisher

 Building U.S. Courthouse, 402 E. State Street, Trenton, New Jersey, for an order converting

 Debtor’s chapter 11 case to chapter 7.

          PLEASE TAKE FURTHER NOTICE that in support of the Cross-Motion, the

 Committee shall rely upon the enclosed Memorandum and Certification of Joshua H. Raymond.
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           PLEASE TAKE FURTHER NOTICE that opposition, if any, to the relief requested in

 the Motion shall be filed and served in accordance with D.N.J. LBR 9013-2(a)(2).

          PLEASE TAKE FURTHER NOTICE that, pursuant to D.N.J. LBR 9013-1(a)(3), no

 brief is being submitted as the relief requested by the Committee is fully set forth in the

 supporting Memorandum.

           PLEASE TAKE FURTHER NOTICE that an order granting the relief requested

 herein is submitted herewith and made part of the Motion herein.

                                             McMANIMON, SCOTLAND
                                             & BAUMANN, LLC
                                             Attorneys for Official Committee of Unsecured
                                             Creditors of Hollister Construction Services, LLC


 Dated: November 4, 2019                     By:        /s/ Sam Della Fera, Jr.
                                                        Sam Della Fera, Jr.




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